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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

CASE NO. 01 16-cv-62610-BLOOM/Valle
A&M GERBER CHIROPRACTIC, LLC,
a/a/o Conor Carruthers, on behalf of itself
and all others similarly situated,
Plaintiff,

V.

GEICO GENERAL INSURANCE
COMPANY,

Defendant.
/

 

AMENDED CLASS ACTION COMPLAINTl

Plaintiff, A&M GERBER CHIROPRACTIC, LLC, a/a/o Conor Caruthers
(“Chiropractor” or “Plaintiff”), on behalf of itself and all others similarly situated, for its Class
Action Complaint, hereby sues Defendant, GEICO GENERAL INSURANCE COMPANY
(“GEICO” or “Defendant”), and alleges as follows:

NATURE OF THE ACTION

l. This is a class action for declaratory relief the value of which in the aggregate
exceeds $15,000.00 exclusive of all costs and attorney’s fees. Plaintiff is not in a position to
assert whether the claims in the aggregate exceed $5,000,000.00 and accordingly cannot make
such a claim. Moreover, this action does not assert a claim for any monetary relief.

2. Plaintiff is a Florida profit corporation with its principal place of business in

Florida.

 

l By filing this Amended Complaint the Plaintiff does not Consent to the Jurisdiction of this
Court or waive its right to seek remand as more fully set forth in its Motion to Remand [D.E. 7].

 

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3. Defendant is a Delaware corporation with its principal place of business located
in the District of Columbia. GEICO provides automobile insurance throughout the State of
Florida, is registered to do business in Florida, and transacts business in Broward County,
maintaining an office and representatives there from where it continues to transact insurance
business.

4. The action does not seek the determination of the reasonableness of any
individual charge or reimbursement but to interpret one specific portion of an ambiguous form
insurance contract(s) (“Policy” or “Policies”) and GEICO general business practice related to its
own interpretation of that form contract(s).

Background Information - Florida Motor Vehicle No-Fault Law

5. Under the Florida Motor Vehicle No-F ault Law, automobile operators are
required to secure "personal injury protection" ("PIP") coverage that provided a minimum of
$10,000.00 in combined medical expense and lost wage coverage that was payable to the insured
if the insured was involved in an automobile accident and suffered covered losses. See, e.g., §
627.736(1)(a), Fla. Stat. (2015). In essence, the statute required that a PIP insurer was to pay
“eighty percent of all reasonable expenses for medically necessary medical” treatment.

`6. In, 2007, the Florida Legislature adopted a permissive fee schedule which
permitted insurance carriers to utilize the Medicare Part B participating provider fee schedule to

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as a per se determlnation of the “reasonable” amount for medical servlces.

 

2 The statute utilizes different Medicare fee schedules for different treatment. However, for the
services material to this action, the Medicare Part B participating provider fee schedule is used.

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7. GEICO, at all times material has attempted to adopt the fee schedule permitted by
Section 627.736(5)(a), Florida Statutes, into its applicable Policy, and has asserted that it
provided adequate notice of the election to use the actual fee schedule.3

8. The Florida PIP Statute (2014 - present) provides for the payment of claims as
follows:

(5) Charges for treatment of injured persons.--
(a) A physician, hospital, clinic, or other person or institution lawfully
rendering treatment to an injured person for a bodily injury covered by
personal injury protection insurance may charge the insurer and injured
party only a reasonable amount pursuant to this section for the services
and supplies rendered, and the insurer providing such coverage may pay
for such charges directly to such person or institution lawfully rendering
such treatment if the insured receiving such treatment or his or her .
guardian has countersigned the properly completed invoice, bill, or claim
form approved by the office upon which such charges are to be paid for as
having actually been rendered, to the best knowledge of the insured or his
or her guardian. However, such a charge may not exceed the amount the
person or institution customarily charges for like services or supplies. In
determining whether a charge for a particular service, treatment, or
otherwise is reasonable, consideration may be given to evidence of usual
and customary charges and payments accepted by the provider involved in
the dispute, reimbursement levels in the community and various federal

 

3 The applicable fee schedule or payment limitation under Medicare is the fee schedule or
payment limitation in effect on March l of the service year in which the services, supplies, or
care is rendered and for the area in which such services, supplies, or care is rendered, and the
applicable fee schedule or payment limitation applies to services, supplies, or care rendered
during that service year, notwithstanding any subsequent change made to the fee schedule or
payment limitation, except that it may not be less than the allowable amount under the applicable
Schedule of Medicare Part B for 2007 for medical services, supplies, and care subject to
Medicare Part B. For purposes of this subparagraph, the term “service year” means the period
from March l through the end of February of the following year.

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and state medical fee schedules applicable to motor vehicle and other
insurance coverages, and other information relevant to the reasonableness
of the reimbursement for the service, treatment, or supply.

l. The insurer may limit reimbursement to 80 percent of the following
schedule of maximum charges:

f. F or all other medical services, supplies, and care, 200 percent
of the allowable amount under.'

(I) T he participating physicians fee schedule of Medicare
Part B, except as provided in sub-sub-subparagraphs
(II) and (111).

9, Pursuant to Florida law an insurance company cannot provide lesser coverage
than as required under the statute, but can provide greater coverage.

lO. In endorsement, FLPIP (()1-13) the GEICO Policy elected the use of the fee
schedule but also included the following language:

A charge submitted by a provider, for an amount less than the amount
allowed above, shall be paid in the amount of the charge submitted

An exemplar of this Policy Endorsement is attached hereto as Exhibit- A. The Plaintiff does not
have a copy of the entire policy and therefore cannot attach same to the complaint It is
Plaintiff s understanding and belief that this language appears in the current form Policy and
endorsements used by GEICO in the State of Florida.

ll. Notwithstanding this Policy language, GEICO, as a general business practice,

pays only 80% of the billed amount when the charge submitted by the provider is less than the

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fee schedule amount-the amount allowed per the fee schedule. lt is Plaintiff s position that
GEICO is required to pay the full billed amount.
GENERAL FACTS RELATED TO INDIVIDUAL PLAINTIFF

12. On or about March 18, 2015, Conor Carruthers ("Carruthers") was involved in a
motor vehicle accident, and as a result, sustained bodily injuries related to the operation,
maintenance, or use of a motor vehicle.

13. At that time, Carruthers was a contracting party and/or a named insured and/or an
omnibus insured under an automobile insurance policy issued by GEICO, and that Policy was in
full force and effect, and provided PIP coverage as required by law to comply with Florida's
Motor Vehicle No-Fault Law. Conor Carruthers sought from Plaintiff medically necessary
services for injuries related to an automobile accident. In exchange for those services, Patient
assigned all benefits under the subject policy to Plaintiff The purpose of the assignment was to
authorize Plaintiff to bill Defendant directly for the medical services provided to Patient, and to
require Defendant to pay Plaintiff directly at its home office. In other words, Plaintiff stepped
into Patient’s shoes and became a party to the insurance contract.

l4. Part of the treatment was for services billed under CPT Code 97110. The Plaintiff
charged $60.00 for charges attributed to CPT Code 97110 four (4) times. This charge is less
than the amount payable under the elected fee schedule; however, the Defendant only paid

$48.00 per treatment for a total of $192.00, instead of the charged amount of $240.00.

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15 . Treatment was also rendered pursuant to CPT code 97140 which charge is less
than 80% of the amount payable under the elected fee schedule, however Defendant only paid
$36.0() instead of the charged amount of $45.00.

l6. For each one of these payments the Defendant submitted an Explanation of
Review that contained the code BA for each charge that is below the fee schedule amount. See
EORs attached hereto as Exhibit B. The BA code is based on GEICO’s alleged misapplication
of its form contract on a class-wide basis as described in this complaint

DEFENDANT’S APPLICATION OF EXPLANATION CODE BA
HAS BEEN WIDESPREAD

17. The above-described Policy, including subsequently enacted endorsements that
contain substantially similar language, is an insurance contract, based on a standardized form
whose versions, coverages, and endorsements and claims payment information are assigned
uniform alphanumeric codes.

18. The Policy terms and PIP statute equally apply to Defendant’s insureds and
assignees of the Policy, including Plaintiff and Class Members.

19. Interpretation of the Policy, the PIP statute, and its amendments are not dependent
on the factual circumstances applying to Plaintiff and each Class Member. Plaintist claim
presents a question of law for the Court whose determination and resolution would apply to
Plaintiff and all Class Members across the board.

20. Upon information and belief, Defendant tracks its general business practice as it

relates to each member of the Class electronically and maintains electronic records that are

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searchable. Upon information and belief, Defendant routinely utilized an identical standardized
explanation code: BA.
21. The common injury that Defendant caused Plaintiff and Class Members stems
from Defendant’s misinterpretation of its form Policy(ies).
CLASS ACTION ALLEGATIONS
22. Plaintiff wishes to be designated as a “Class Representative,” and as Class

Representative brings this action pursuant to Rule 23 of the F ederal Rules of Civil Procedure4 on
behalf of all other persons similarly situated_the “Class” or “Class Members” defined as
follows:

Class Definition

All health care providers who submitted claims for no-fault

benefits under PIP policies to which Endorsement FLPIP (01-13),

and any subsequent policies with substantially similar language

that were in effect since January l, 2013, (the “Class Period”),

where GEICO utilized the Code BA with respect to the payment of

any claim.
Plaintiff and Class Members reserve the right to amend the Class definition as discovery
proceeds and to conform to the evidence. Excluded from the Class are: any Defendant, and any
subsidiary or affiliate of that Defendant, and the directors, officers and employees of that
Defendant or its subsidiaries or affiliates, and members of the federal judiciary.

23. Numerosity (Rule 23(a)(1)). Plaintiffs allege on information and belief that the

number of Class Members is so numerous that joinder of them is impractical, Plaintiffs belief is

 

4 The Plaintiff has filed a Motion to Remand this case back to State Court. If the matter is
remanded, the Plaintiff intends to file another complaint changing the elements pled in this
section based on Rule 1.220.

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based on information indicating the number of medical providers in Florida, the number of
Defendant’s insureds in Florida, and that GEICO has had a general business practice of applying
explanation code BA to its claims to effect payments.

24. At this time, Plaintiff does not know the exact number of Class Members, but the
members of the Class will be easily ascertained through GEICO’s records through the use of
their own computer data. Indeed, a simple run of the data will uncover all claims information,
including claims with explanation code BA, which will provide each Class Member and claim
for which GEICO improperly interpreted its Policy(ies). This data will enable the Plaintiff to
easily determine common action and liability as well as damages for all putative insured’s
claims.

25. Commonalitv (Rule 23(a)(2)). There are common questions of law and/or fact
that predominate over any questions affecting only individual members of the class. These
principal common issues include the following:

a. What is the proper interpretation of its Policy(ies);

b. Whether the applicable Policy(ies) require payment of 100% of billed
charges for all claims that utilize explanation code BA;

c. Whether the Plaintiff and the Class are entitled to declaratory relief to
determine the parties’ respective rights and obligations concerning the
provisions of GEICO’s policies that contain Endorsement FLPIP (Ol~
13) and any subsequent similarly similar policy language;

d. Whether the Plaintiff and the Class are entitled to information notice to
inform them that the Defendant has not properly paid claims that were
paid based on the BA code;

e. Whether GEICO breached its insurance policy(ies).

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26. Typicalitv (Rule 23(a)(3)). The claims of the Class Representative are typical of
the claims that would be asserted by other members of the Class in that, in proving its claims,
Plaintiff will simultaneously prove the claims of all Class Members. Plaintiff and each Class
Member is a health care provider insured under Defendant’s standardized Policy, whose claims
pursuant to Defendant’s PIP Policy have been underpaid based solely on the Defendant’s

improper reading of its own insurance policy.

27. Adequacv (Rule 23(a)(4)). The Class Representative is a health care provider

 

doing business in Florida that has no conflicts of interest and will fairly and adequately protect
and represent the interests of each member of the Class. Additionally, the Class Representative
is fully cognizant of its responsibility as Class Representative and has retained experienced
counsel fully capable of, and intent upon, vigorously pursuing the action. Each class counsel has
extensive experience in class and/or insurance claims and litigation.`

28. Rule 23§b)(2 1. Under Count I GEICO has acted or refused to act on grounds or in
a manner generally applicable to all members of the Class, thereby making declaratory relief to
the entire Class particularly appropriate Defendant systematically and routinely improperly
interpreted its Policy(ies), affecting Plaintiff and each Class Member.

29. Because Plaintiff seeks declaratory relief for Class Members under Rule 23(b)(2),
the prosecution of separate declaratory actions by individual Class Members would create a risk
of inconsistent or varying adjudications with respect to individual Class Members that would
establish incompatible standards of conduct for the Defendant. Further, adjudications with

respect to individual Class Members would, as a practical matter, be dispositive of the interests

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of other Class Members who are not parties to the adjudication and may impair and impede their
ability to protect their interests. Certification is also appropriate because there is no claim for
monetary relief.

30. Rule 23 §b)§31. In the alternative to a (b)(2) certification, there are several
predominant common questions stated above. Under Count l questions of law or fact common to
the Class Representative’s claim and the claim of each member of the class as described above
predominate over any questions of law or fact affecting only individual members of the class.
Moreover, class representation is clearly superior to other available methods for the fair and
efficient adjudication of this controversy.

COUNT I

DECLARATORY JUDGMENT
(CLASS CLAIM)

31. Plaintiff and the Class repeat and re-allege each and every allegation contained in
Paragraphs l through 30 above, as if the same were fully alleged therein.

32. All conditions precedent to this action have occurred, been satisfied or been
waived.

33. Plaintiff and all putative Class Members have submitted claims for PIP benefits to
the Defendant for payment under Defendant’s standardized insurance Policy,

34. The Policy contains language that not only elects the use of the fee schedules
permitted in Florida PIP.Law, but also contains language relating to the payment of claims when

the amount charged is less than the fee schedule amount.

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35. Each charge that is below the fee schedule amount is reviewed by the Defendant
and given the BA code on each of its Explanation of Reviews.

36. lt is Plaintiff’ s position that the correct interpretation of the Policy language is
that the Defendant is required to pay the full charged amount when the amount charged is less
than the applicable fee schedule amount.

37, The Defendant has disputed this interpretation and has instead asserted that based
on its own interpretation of the Policy, it is only required to pay 80% of the billed amount and
has indeed only made that payment.

38. Accordingly, Plaintiff, individually and on behalf of all those similarly situated,
are in doubt about the proper interpretation of the Policy and therefore are uncertain about their
rights and obligations under the Policy and requests this Court to interpret the Policy and declare
its rights and obligations under the Policy,

39. There is a bona fide, actual, present, practical need for the Court to declare the
proper interpretation of the Policy.

40. Plaintiff and' the putative class has interests adverse to Defendant and the
declaration requested deals with a present ascertainable state of facts as presented in the
allegations set forth above.

41. There is also an actual controversy between GEICO, Plaintiff and all Class
Members concerning the proper construction and interpretation of the Policy assigned to Plaintiff

and Class Members. Specifically, there is a legitimate dispute over, inter alia, during the Class

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Period: whether GEICO improperly interpreted its policy and reduced the payment amounts on
charges below the fee schedule, and only paid 80% of the charge on a class-wide basis.

WHEREFORE, Class Representative, individually and on behalf of the Class of persons
similarly situated, and pursuant to Chapter 86, Florida Statutes, and 28 U.S.C. § 2201 hereby
requests a declaratory judgment interpreting Florida Statute 627.736~ and the insurance Policy
issued by GEICO described herein, and prays for an Order as follows:

a. Finding that this action satisfies the prerequisites for maintenance as a class action
set forth in Federal Rule of Civil Procedure 23(b)(2);

b. Designating Plaintiff as representative of the Class and its counsel as Class
counsel;

c. Entering judgment in favor of Plaintiff and the Class and against Defendant;

d. Awarding attorney fees and costs under Section 627.428, Florida Statutes, for
prosecuting this action;

e. Entering judgment as follows:

l) Declaring that the proper interpretation of the Defendant’s Policy requires
payment of 100% of the billed charges for all charges submitted under the Policy that are
below the fee schedule amount;

2) Entry of an order requiring Defendant provide notice to all Class Members
regarding the rulings, findings, declarations in this matter and their legal rights with

respect to GEICO’s improper interpretation of the Policy; and,

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3) Granting such further relief as the Court deems just and equitable,

including but not limited to, awarding the attorneys’ fees and costs pursuant to Section

627.428, Florida Statutes, incurred in the prosecution of this action,

JURY DEMAND

Plaintiff requests trial by jury on all issues so triable.

Dated: December l 2016

 

I hereby certify that on

Respectfully submitted,

s/T odd S. Pavne

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Attomeys for Plaintiff

CERTIFICATE OF SERVICE

December l 2016, the foregoing was filed with the Clerk of the

 

Court using the CM/ECF system, which will send a notice of electronic filing to counsel of

record on the below service list.

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s/Todd S. Pavne
Attorney

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Service List
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